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                                         U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      July 25, 2019

VIA ECF

The Honorable Richard M. Berman
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Jeffrey Epstein, 19 Cr. 490 (RMB)

Dear Judge Berman:

       The Government respectfully submits this letter to request that the Court endorse a
proposed protective order, which is enclosed. For the reasons set forth in the proposed order, and
with the consent of defense counsel, the Government respectfully requests that the Court endorse
the enclosed order.


                                                   Respectfully submitted,

                                                   GEOFFREY S. BERMAN
                                                   United States Attorney


                                             By:       /s/ Alison Moe
                                                   Alison Moe / Alex Rossmiller / Maurene Comey
                                                   Assistant United States Attorneys
                                                   Southern District of New York
                                                   Tel: (212) 637-2225 / 2415 / 2324

Enclosure

Cc:    Martin Weinberg, Esq., and Reid Weingarten, Esq., counsel for defendant
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